
PER CURIAM.
This cause having been orally argued by appellant, the briefs and record on appeal having been read and given full consideration, and it appearing therefrom that appellant’s employee, whose compensation was the subject matter of the complaint below, was not joined as a party, and the court being of the opinion that the joinder of such affected person is necessary to the full and complete judicial determination of the issues raised herein, the judgment of the lower court hereby appealed is affirmed, without prejudice to the filing of a new complaint as may be deemed advisable wherein the employee is a party plaintiff.
SPECTOR, Acting C. J., and WIGGIN-TON, JOHN T., and CREWS, JOHN J., Jr., Associate Judges, concur.
